Case 1:24-cv-04126-PKC-MMH Document 4-14 Filed 06/10/24 Page 1 of 8 PageID #: 157




        EXHIBIT M
         CasePM1:24-cv-04126-PKC-MMH
6/10/24, 12:09                                        Document
                       Martin Shkreli (e/acc) on X: "well @pleasrdao 4-14     Filed
                                                                     blocked me       06/10/24
                                                                                from their account so Page       2 play
                                                                                                      i think i will of 8thePageID    #: 158
                                                                                                                             album on spaces now" / X

                                                                                                                                             Search
                                                          Post
                                                         Martin Shkreli (e/acc)
                 Home                                    @MartinShkreli                                                               Relevant peo

                 Explore                        well @pleasrdao blocked me from their account so i think i will play the                      Martin Shkr
                                                album on spaces now                                                                           @MartinShk
                 Notifications                                                                                                                shoggoth.ai
                                                2:29 PM · Jun 9, 2024 · 53.2K Views
                                                                                                                                              godelnum.c
                                                                                                                                              linktr.ee/ms
                 Messages                           39                    32                 325                 18
                                                                                                                                                Pleasr
                 Grok                                                                                                                         @PleasrDAO
                                                         Post your reply                                                    Reply             2103 will co
                 Lists
                                                         Billie  @patentgirl3 · 19h                                                   What’s happe
                 Bookmarks                               Seems like something @elonmusk would approve of.

                                                                                              2                 310                                   South
                 Communities                                                                                                                          Cricket

                                                         Zuwu     @0xZuwu · 21h
                 Premium                                 Making me nostalgic for the old finance streams and listening to a song
                                                         here and there off it                                                        Politics · Trending
                 Profile                                                                      5                 1.8K                  Craigslist
                                                                                                                                      27.9K posts
                 More                                    Jack Nefty       @ape7458 · 14h
                                                                                                                                      Trending in United Sta
                                                                                                                                      #StellaBlue
                       Post                                                                                     321
                                                                                                                                      Trending in United Sta
                                                         Gabriel Haines     @gabrielhaines · 21h                                      Huntington
                                                         Notifs on                                                                    5,198 posts

                                                                                              5                 1.5K                  Korean music · Trendin
                                                                                                                                      seokjin
                                                         Kris Danielson    @kccj12 · 20h                                              137K posts
                                                         Play a song you haven’t played before on the album!
                                                                                                                                      Show more
                                                                                                                738


                                                         Jay Kess     @JayBarlowBot · 21h                                             Terms of Service Priv
                                                         Please do                                                                    Accessibility Ads info

                                                                                                                1.4K


                                                         Big Iron          @MrsNesbitt802 · 3h
                                                         Lol lets hear it, some good songs on it wish i could hear again @pleasrdao

                                                                                                                36


                                                         varez    @neuralvarez · 21h
                                                         W

                                                                                                                686


                                                         Fungibles     @fungibIes · 19h
                                                         Drop that shit already

                                                                                              2                 810


                                                         Gee     @ohgordn · 20h
                                                         Martin cooking on @ShoggothToken




                  X User 12345
                  @XUser1234514179


https://x.com/MartinShkreli/status/1799871344944849333                                                                                                      1/4
         CasePM1:24-cv-04126-PKC-MMH
6/10/24, 12:09                                        Document
                       Martin Shkreli (e/acc) on X: "well @pleasrdao 4-14     Filed
                                                                     blocked me       06/10/24
                                                                                from their account so Page       3 play
                                                                                                      i think i will of 8thePageID    #: 159
                                                                                                                             album on spaces now" / X




                 Home

                 Explore

                 Notifications

                 Messages

                 Grok

                 Lists

                 Bookmarks                                                                        2                 671


                 Communities                          S117.eth          @S117doteth · 21h
                                                      Wut album !

                 Premium                                                                                            1.4K


                 Profile                              RELAX    @itzzSKL · 21h
                                                      Get em shkreli

                 More                                                                                               1.1K


                                                      dasha          @mossadXBT · 21h
                       Post
                                                      why?

                                                                                                  1                 1.3K


                                                      Will FP (Auxilor)       @willfp · 21h
                                                      based

                                                                                                                    1.3K


                                                      Snocu           @snoocu · 21h
                                                      He's doin it...

                                                                                                                    761


                                                      LA1000_CRYPTO            @LA1000_CRYPTO · 21h
                                                      LFG

                                                                                                                    746


                                                      Hagar Bach               @HagarBach · 21h
                                                      Pо⁡⁡sitive⁨ly r⁨e⁨li⁡a⁨⁡ble⁨


                                                             Lester Joy       @lester_joyJHn · Jun 7
                                                            M​axim​ize Y​our Ea​rnings w​ith T​his Cr​ypto B​ot!
                                                            5​-6 ​ETH p​er we​ek? Ye​s, I​t's ac​hievable! T​his Ch​atGPT-d​riven b​ot
                                                         cons​istently g​enerates th​ese pr​ofits we​ekly.

                                                         Dis​cover M​ore:      [CL​ICK HE​RE]




                  X User 12345
                  @XUser1234514179


https://x.com/MartinShkreli/status/1799871344944849333                                                                                              2/4
         CasePM1:24-cv-04126-PKC-MMH
6/10/24, 12:09                                        Document
                       Martin Shkreli (e/acc) on X: "well @pleasrdao 4-14     Filed
                                                                     blocked me       06/10/24
                                                                                from their account so Page       4 play
                                                                                                      i think i will of 8thePageID    #: 160
                                                                                                                             album on spaces now" / X




                 Home

                 Explore

                 Notifications

                 Messages

                 Grok                                    There’s a new version of this post


                 Lists                                                                                   677



                 Bookmarks

                 Communities

                 Premium

                 Profile

                 More

                       Post




                  X User 12345
                  @XUser1234514179


https://x.com/MartinShkreli/status/1799871344944849333                                                                                              3/4
         CasePM1:24-cv-04126-PKC-MMH
6/10/24, 12:09                                        Document
                       Martin Shkreli (e/acc) on X: "well @pleasrdao 4-14     Filed
                                                                     blocked me       06/10/24
                                                                                from their account so Page       5 play
                                                                                                      i think i will of 8thePageID    #: 161
                                                                                                                             album on spaces now" / X




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                 Lists

                 Bookmarks

                 Communities

                 Premium

                 Profile

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                       Post




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https://x.com/MartinShkreli/status/1799871344944849333                                                                                              4/4
         Case
6/10/24, 11:04 AM1:24-cv-04126-PKC-MMH Martin
                                       Document          4-14
                                              Shkreli (e/acc) on X:Filed
                                                                   "Never 06/10/24
                                                                          heard before wuPage    6 of/ 8X PageID #: 162
                                                                                         tang stream"

                                                         Post                                                                               Search


                                                        Martin Shkreli (e/acc)
                 Home                                   @MartinShkreli                                                                Relevant peo

                 Explore                       Never heard before wu tang stream                                                              Martin Shkr
                                                                                                                                              @MartinShk
                 Notifications                      Martin Shkreli (e/acc)       @MartinShkreli · 20h                                         shoggoth.ai
                                                x.com/i/spaces/1dxxy…                                                                         godelnum.c
                                                                                                                                              linktr.ee/ms
                 Messages
                                                    Martin Shkreli (e/acc)       Host

                 Grok                                                                                                                 What’s happe
                                                Wu tang official listening party
                 Lists                          Ended · 4.9K tuned in                                                                                South
                                                                                                                                                     Cricket

                 Bookmarks
                                                                                     Follow host
                 Communities                                                                                                          Entertainment · Trend
                                                                                                                                      #Kalki2898AD
                                               2:29 PM · Jun 9, 2024 · 42.6K Views                                                    345K posts
                 Premium
                                                   32                    38                  143                4                     Trending in United Sta
                 Profile                                                                                                              Al Jazeera
                                                                                                                                      76.3K posts

                 More                                   Post your reply                                                    Reply
                                                                                                                                      Trending in United Sta
                                                                                                                                      Uranus
                                                                                                                                      22.9K posts
                      Post                              SKeetMoss @BigScottLogan · 19h
                                                        lol you paid how much for this                                                Trending in United Sta
                                                           1                                                   662                    Euphoria
                                                                                                                                      12.2K posts
                                                        Martin Shkreli (e/acc)    @MartinShkreli · 19h
                                                        Profited from it                                                              Show more

                                                           3                                  4                675
                                                                                                                                      Terms of Service Priv
                                                        Show replies                                                                  Accessibility Ads info


                                                        El  @Torttzz · 19h
                                                        Thank you @MartinShkreli

                                                                                                               294


                                                        BwcDeals       @BwcDeals · 20h
                                                        This is Great!

                                                                                                               756


                                                        avilio91 (// arc)    @avilio_91 · 19h
                                                        In my authority of random internet cartoon i hereby absolve you of all your
                                                        previous sins

                                                                                              1                497


                                                        no_side666     @no_side666 · 20h
                                                        Thanks for sharing. This is good!

                                                           1                                                   487


                                                        b3ckna$ty     @BrealRt · 20h
                                                        Can you burn me a copy? I need this album or I die.

                                                                                              1                600


                                                        LA1000_CRYPTO         @LA1000_CRYPTO · 20h
                  X User 12345
                  @XUser1234514179
                                                                                                               435


https://x.com/MartinShkreli/status/1799871556316725666                                                                                                  1/3
         Case
6/10/24, 11:04 AM1:24-cv-04126-PKC-MMH Martin
                                       Document          4-14
                                              Shkreli (e/acc) on X:Filed
                                                                   "Never 06/10/24
                                                                          heard before wuPage    7 of/ 8X PageID #: 163
                                                                                         tang stream"

                                                     LA1000_CRYPTO        @LA1000_CRYPTO · 20h
                                                     please adjust the speakers brotherman

                                                                                            1                   553
                 Home
                                                     bbsz @blackbigswan · 20h
                 Explore                             it sounds like r&b? lol

                                                                                                                278
                 Notifications
                                                     goonpepe @goonpepe · 19h
                 Messages                            hey martin does the wu tang song leaked on youtube is legit?

                                                                                                                269
                 Grok
                                                     devastatindave.eth @NftCelestials · 9h
                 Lists                               how much for a bootleg

                                                                                                                35
                 Bookmarks
                                                     Retweet King @ChuckB68914427 · 20h
                 Communities                         You are many years late with this but we forgive you . Much love and
                                                     was sending T's and P's your way when you were in the pen
                 Premium                                                                                        346


                 Profile                             Monke Mike @mikeykmike · 19h
                                                     love this! wu tang foreverr

                 More                                                                                           141


                                                     interplanetary fishing trawler @L1zrdk1ng · 19h
                      Post
                                                     idk why but I wasn't expecting it to slap this hard. thx

                                                                                                                148


                                                     Matthew  @O7462 · 19h
                                                     too funny

                                                                                            1                   102


                                                     @janesreliction, MBA @janesreliction · 20h
                                                     Turn up the volume dude

                                                                                            1                   348


                                                     FRANKIE RIZZO @unvaxxedNwaxed · 19h
                                                     Yo Martin that was great any chance you doing another stream sometime
                                                     with the other album?

                                                                                            2                   98


                                                     benfranklin @benfranklin888 · 19h
                                                     We can’t hear it that good thru your cheap speakers

                                                         1                1                 3                   103


                                                     L3 deamplification victim @UberBasado · 20h
                                                     With asmr mouse clicks and keyboard taps

                                                                                            1                   286




                  X User 12345
                  @XUser1234514179


https://x.com/MartinShkreli/status/1799871556316725666                                                                       2/3
         Case
6/10/24, 11:04 AM1:24-cv-04126-PKC-MMH Martin
                                       Document          4-14
                                              Shkreli (e/acc) on X:Filed
                                                                   "Never 06/10/24
                                                                          heard before wuPage    8 of/ 8X PageID #: 164
                                                                                         tang stream"




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                 Profile

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                      Post




                  X User 12345
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https://x.com/MartinShkreli/status/1799871556316725666                                                                    3/3
